           Case 3:15-cr-02821-BAS Document 392 Filed 08/22/18 PageID.5774 Page 1 of 5
AO 245B (CASDRev. 02118) Judgment in a Criminal Case
                                                                                                                        FILED
                                                                                                                        AUG 2 2 2018
                                           UNITED STATES DISTRICT CO
                                                                                                               CLERK, U.S. DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                             BY                        DEPUTY
                UNITED STATES OF AMERICA
                                      v.                                     (For Offenses Committed On or After November 1, 1987)
                        RONALD GRUSD (1)
                                                                             Case Number: 15CR2821-BAS
                                                                             THOMAS MESEREAU, SHARON APPELBAUM, AND
                                                                             JOHN GORDON
                                                                             Defendant's Attorney
REGISTRATION NO.                      69802122
IZI   Modification to Incorporate Forfeiture Order

THE DEFENDANT:
1Z1 wasfoundguiltyon~ount(s)                 1 2-16 18-20 23-36 AND37-420FTHESUPERSEDINGINDICTMENT
      after a plea of not gmlty                '     '     '        '
                                           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                               Count
Title & Section                          Nature of Offense                                                                    Number(s)
18USC 1349                               CONSPIRACY TO COMMIT HONEST SERVICES MAIL FRAUD                                           1
18 use 1341, 1346 AND 2                  HONEST SERVICES MAIL FRAUD AND AIDING AND ABETTING                                      2-16
18 USC 1343, 1346 AND 2                  HONEST SERVICES WIRE FRAUD AND AIDING AND ABETTING                                     18-20
18 USC 1347 AND 2                        HEALTH CARE FRAUD AND AIDING AND ABETTING                                              23-36
18 USC 1952(a)(l), (a)(2),               TRAVEL ACT AND AIDING AND ABETTING                                                     37-42
AND2

     The defendant is sentenced as provided in pages 2 through                         5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D     The defendant has been found not guilty on count(s)

IZI Count(s) 17, 21 & 22 dismissed on 12/6/17; 43 - 45                       dismissed 11/27/17 on the motion of the United States.

1Zi    Assessment: $3,900 ($100 EACH COUNT)


       JVTA Assessment*:$
D      -
       *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
IZI    See fine page                IZI Forfeiture pursuant to order filed                 8/20/2018                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                             JUNE 18 2018



                                                                             HON~BASHANT
                                                                             UNITED STATES DISTRICT JUDGE



                                                                                                                            15CR2821-BAS
        Case 3:15-cr-02821-BAS Document 392 Filed 08/22/18 PageID.5775 Page 2 of 5
AO 245B (CASD Rev. 02/18) Judgment in a Criminal Case

DEFENDANT:                RONALD GRUSD (1)                                                       Judgment - Page 2of5
CASE NUMBER:              15CR2821-BAS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 COUNTS ONE (I) TO SIXTEEN (16), EIGHTEEN (18) TO TWENTY (20), TWENTY THREE (23) TO THIRTY SIX
 (36): NINE (9) YEARS AND THREE HUNDRED AND SIXTY FOUR (364) DAYS AND COUNTS THIRTY SEVEN
 (37) TO FORTY TWO (42): FIVE (5) YEARS EACH COUNT RUNNING CONCURRENT TO EACH OTHER FOR A
 TOTAL OF NINE (9) YEARS AND THREE HUNDRED AND SIXTY FOUR (364) DAYS.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO THE LOMPOC CAMP
       FOR FAMILY VISITS AND TO BE AVAILABLE TO PARTICIPATE AND DEFEND OTHER
       CALIFORNIA STATE CASE(S).


 IZI   The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D     at                            A.M.              on
       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
 I have executed this judgment as follows:

       Defendant delivered on


 at                                      , with a certified copy of this judgment.
       -----------


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                     l 5CR2821-BAS
               Case 3:15-cr-02821-BAS Document 392 Filed 08/22/18 PageID.5776 Page 3 of 5
    AO 245B (CASD Rev. 02/18) Judgment in a Criminal Case

    DEFENDANT:                      RONALD GRUSD ( 1)                                                                             Judgment - Page 3 of 5
    CASE NUMBER:                    15CR2821-BAS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
COUNTS 1TO16, 18 TO 20, 23 TO 36, AND 37 TO 42: THREE (3) YEARS EACH COUNT TO RUN CONCURRENT
TO EACH OTHER FOR A TOTAL OF THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
            unless granted permission to do so by the probation officer;
     I 0)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission of
            the court; and
     13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.

                                                                                                                                       15CR2821-BAS
         Case 3:15-cr-02821-BAS Document 392 Filed 08/22/18 PageID.5777 Page 4 of 5
AO 245B (CASD Rev. 02/18) Judgment in a Criminal Case

DEFENDANT:              RONALD GRUSD (1)                                                        Judgment - Page 4 of 5
CASE NUMBER:            15CR2821-BAS


                                 SPECIAL CONDITIONS OF SUPERVISION

     I. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     2. Resolve all outstanding case(s) within 90 days.

     3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     4. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.

     5. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained,
        directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
        partnership or corporation until the fine or restitution is paid in full.

     6. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
        owned, directly or indirectly, including any interest held or owned under any other name, or entity,
        including a trust, partnership or corporation. 7. Be prohibited from opening checking accounts or incurring
        new credit charges or opening additional lines of credit without approval of the probation officer.



II




                                                                                                    15CR2821-BAS
          Case 3:15-cr-02821-BAS Document 392 Filed 08/22/18 PageID.5778 Page 5 of 5
AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

   DEFENDANT:              RONALD GRUSD (I)                                                     Judgment - Page 5 of 5
   CASE NUMBER:            l 5CR282 l-BAS

                                                    FINE


  The defendant shall pay a fine in the amount of     $250,000
                                                     ~~~~~~~~-
                                                                                 unto the United States of America.

  Count 1: Pay a fine in the amount of $250,000 through the Clerk, U.S. District Court. Payment of fine shall be
  forthwith. During any period of incarceration the defendant shall pay fine through the Inmate Financial
  Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is
  greater. The defendant shall pay the fine during his supervised release at the rate of $3,000 per month. These
  payment schedules do not foreclose the United States from exercising all legal actions, remedies, and process
  available to it to collect the fine judgment at any time.

  Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
  Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
  change occurs.




  This sum shall be paid    1ZJ   Immediately.




  The Court has determined that the defendant     does         have the ability to pay interest. It is ordered that:
  D   The interest requirement is waived




                                                                                                       15CR2821-BAS
